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 1    JOHN G. GEORGE, ESQ.
      Nevada Bar No. 12380
 2    LAW OFFICE OF JOHN GEORGE
      732 S. 6th Street Suite 100
 3    Las Vegas, Nevada 89101
      Telephone:      (702) 382-1200
 4    Facsimile:      (702) 446-1577
      E-mail: johngeorgejr@fastmail.fm
 5    Attorney for Defendant
      JOHN FORD EPPS
 6

 7

 8                                    UNITED STATES DISTRICT COURT
 9
                                             DISTRICT OF NEVADA
10

11

12    UNITED STATES OF AMERICA,

13                       Plaintiff,

14    v.                                             CASE NO. 2:16-CR-00291-GMN-PAL

15

16    JOHN FORD EPPS,

17                      Defendant.

18

19
                 UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE
20
             COMES NOW JOHN FORD EPPS by and through his attorney John G. George and
21
      hereby requests that this honorable court temporarily modify his conditions of release for the
22

23    purpose of fulfilling a mandate by this Court. This unopposed motion is based on the attached

24    memorandum of points and authorities, the papers and pleadings filed herein and any arguments
25    permitted by the court at a hearing.
26
      ///
27

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     Case
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES

 2
             On September 30, 2016 a complaint was filed naming Defendant EPPS and co-defendants
 3
      Johnny Tovar, and Marcus Richardson alleging violations of 21 U.S.C. §§ 841(a)(1) and
 4

 5    (b)(1)(C), Conspiracy to Distribute Heroin. (ECF. No. 1) All defendants were required to avoid

 6    contact between themselves. Recently, the other defendants requested in unopposed motions that

 7    they be permitted to interact because they were very close before being charged. Those motions
 8
      were granted.
 9
             On December1, 2014, counsel for Defendant EPPS filed a motion to modify conditions of
10
      release. However prior to filing that Motion, counsel had not spoken with the prosecuting AUSA
11
      Robert Knief. Because of the urgency of this matter, counsel for Defendant EPPS spoke with
12

13    AUSA Robert Knief on Wednesday the 14th of December to determine if he intended to oppose

14    the Motion. Mr. Knief indicated that Defendant EPPS’ Motion to Modify Conditions of release
15    will be unopposed by the United States. Counsel for Defendant EPPS filed a supplement to the
16
      first Motion filed on December 1, 2016, however due to a discrepancy in the title, the Motion was
17
      rejected. Counsel now files this Unopposed Motion to Modify Conditions of Release.
18
             Defendant EPPS is required by this Court to remedy an outstanding warrant in Los
19

20    Angeles county for a charge that is many years old. However, Defendant EPPS is prohibited

21    from leaving the State of Nevada. He needs to be able to travel to Los Angeles to fulfill the

22    mandate of this Court that he remedy that warrant. He plans on addressing the matter in Los
23    Angeles next Monday and Tuesday the 19th and 20th of December
24
             Defendant EPPS also requests that this Court permit him to visit with his co-defendants.
25
      Counsel for Defendant EPPS also discussed this matter with AUSA Robert Knief and he also
26
      indicted that the United States would not oppose this.
27

28    ///

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     Case
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 1    CONCLUSION
 2
             Because the United States does not intend to oppose this Motion, Defendant EPPS
 3

 4    respectfully requests that this honorable Court permit him to travel to Los Angeles and to visit

 5    with his co-defendants.

 6           DATED this 14th day of December, 2016.
 7

 8

 9
                                                   /s/ John George
10                                                 JOHN G. GEORGE, ESQ.
                                                   Nevada Bar No. 12380
11                                                 732 S. 6th Street Suite 100
                                                   Las Vegas, Nevada 89101
12                                                 Telephone:(702) 382-1200
                                                   Facsimile:(702) 446-1577
13                                                 E-mail: johngeorgejr@fastmail.fm
                                                   Attorney for Defendant
14                                                 John Ford Epps
15

16                                  IT IS SO ORDERED. IT IS FURTHER ORDERED that
                                    Defendant's Motion to Change Pre-Trial Conditions (ECF
17                                  No. 51) is DENIED as moot.
                                    DATED: December 15, 2016
18

19

20                                  UNITED STATES MAGISTRATE JUDGE
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     Case
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 1

 2            CERTIFICATE OF SERVICE
 3
                     I hereby certify that on this 14th day of December 2016, I served a true and correct
 4
      copy of this Motion to Modify Conditions of Release addressed to the following party as follows:
 5
          x    via Electronic Service: mandatory electronic service (e-service), proof of e-service
 6            attached to any copy filed with the Court; or
 7            via facsimile transmission, proof of transmission attached to any copy filed with the
              Court; or
 8
           via e-mail, proof of transmission attached to any copy filed with the Court; or
 9
          via U.S. Mail: By placing a true copy thereof enclosed in a sealed envelope with postage
10           thereon fully prepaid, addressed as indicated on the service list below in the United States
             mail at Las Vegas, Nevada to the below address:
11
      Robert Knief
12    Assistant United States Attorney
      United States Attorney’s Office
13    501 Las Vegas Blvd. South, Suite 1100
14    Las Vegas, Nevada 89101
      (702) 388-6336
15

16

17
                                                                   /s/ John George
18                                                                 An employee of
                                                                   Law Office of John George
19

20
21

22

23

24

25

26
27

28

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